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                   IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF ARKANSAS
                           FAYETTEVILLE DIVISION


 UNITED STATES OF AMERICA                                            PLAINTIFF

 v.                          Civil No. 05-5160
                          Crim. No. 04-50015-002

 JOSE MANCILLA-OREGON                                       DEFENDANT/MOVANT

                                  O R D E R

       Now on this 16th day of June, 2006, comes on for

 consideration the Magistrate Judge's Report and Recommendation

 (document #162), in this matter, to which no objections have been

 made, and the Court, having carefully reviewed said Report and

 Recommendation, finds that it is sound in all respects, and that

 it should be adopted in toto.

       IT IS THEREFORE ORDERED that the Magistrate Judge's Report

 and Recommendation is adopted in toto.

       IT IS FURTHER ORDERED that, for the reasons stated in the

 Magistrate Judge's Report and Recommendation, movant's Motion to

 Dismiss his 28 U.S.C. § 2255 Petition is hereby granted and this

 action is dismissed.

       IT IS SO ORDERED.



                                          /s/Jimm Larry Hendren
                                          HON. JIMM LARRY HENDREN
                                          UNITED STATES DISTRICT JUDGE
